         Case 1:20-cv-00351-HG-KJM Document 16 Filed 08/31/20 Page 1 of 2               PageID #: 217



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                6   INSURANCE COMPANY OF TEXAS
                7

                8                         UNITED STATES DISTRICT COURT
                9                                  DISTRICT OF HAWAI’I
            10

            11      AMERICAN HALLMARK                               No. 20-cv-00351-HG-KJM
                    INSURANCE COMPANY OF
            12      TEXAS, a Texas corporation,
            13                       Plaintiff,                     JUDGMENT
            14             v.
            15      MY THAI MAUI LLC; MATTHEW
                    WHITE; and MAYRIN
            16      PORTAMA,
            17                       Defendants.
            18

            19            IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
            20            1. Judgment is hereby entered in favor of plaintiff American Hallmark
            21      Insurance Company of Texas (“Hallmark”) and against defendants My Thai Maui
            22      LLC, Matthew White and Mayrin Portama (collectively “defendants”).
            23            2. Hallmark has no obligation whatsoever under Commercial Advantage
            24      Policy No. 44-PB-000629086-00/00, effective February 28, 2020 to February 28,
            25      2021, naming My Thai Maui LLC as insured (the “Policy”), for defendants’ claim
            26      for losses and damages, including without limitation lost revenues, they claim to
            27      have sustained as a result of the COVID-19 pandemic and governmental orders
            28      related thereto. Specifically, there is no “direct physical loss of or damage to”
 M ORISON &                                                   -1-
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                                                            Judgment
         Case 1:20-cv-00351-HG-KJM Document 16 Filed 08/31/20 Page 2 of 2                PageID #: 218



                1   defendants’ property. There is no coverage under the Policy because the losses and
                2   damages claimed by defendants fail to satisfy the insuring agreements of the
                3   Policy’s Property Coverage, Business Income Coverage, Civil Authority Coverage,
                4   and Extra Expense Coverage. Even if a Policy coverage grant were capable of
                5   being satisfied, the Policy’s Exclusion Of Loss Due To Virus Or Bacteria (Including
                6   Food Contamination Business Income Exception) endorsement, Acts Or Decisions
                7   Exclusion, Consequential Losses Exclusion, Governmental Action Exclusion,
                8   Pollution Exclusion, and Business Income and Extra Expense Exclusion bar
                9   coverage.
            10            3. Each party to bear their own costs.
            11            4. All case deadlines and other dates are vacated.
            12            IT IS SO ORDERED.
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                          DATED: Honolulu, Hawaii, August 31, 2020.
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                    AMERICAN HALLMARK INSURANCE COMPANY OF TEXAS v. MY THAI
            26      MAUI LLC; MATTHEW WHITE; and MAYRIN PORTAMA, 20-cv-00351-HG-
                    KJM; JUDGMENT
            27

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                                                             Judgment
